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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR07-234-RSL
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )             DETENTION ORDER
11   BRANDEN BARNETT,                     )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Cocaine Base; Distribution of Cocaine

15 Date of Detention Hearing:      August 23, 2007

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.      Defendant has been charged with a drug offense the maximum penalty of which

22 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01 dangerousness and flight risk, under 18 U.S.C. §3142(e).

02           2.      Defendant was not interviewed by Pretrial Services. There is no information

03 available regarding his personal history, residence, family ties, ties to this District, income, financial

04 assets or liabilities, physical/mental health or controlled substance use, if any.

05           3.      Defendant’s criminal record includes failures to appear, and bench warrant activity,

06 including an active extraditable warrant from Federal Way. According to the AUSA, defendant

07 is currently incarcerated for probation violations.

08           4.      Taken as a whole, the record does not effectively rebut the presumption that no

09 condition or combination of conditions will reasonably assure the appearance of the defendant as

10 required and the safety of the community.

11 It is therefore ORDERED:

12           (1)     Defendant shall be detained pending trial and committed to the custody of the

13                   Attorney General for confinement in a correction facility separate, to the extent

14                   practicable, from persons awaiting or serving sentences or being held in custody

15                   pending appeal;

16           (2)     Defendant shall be afforded reasonable opportunity for private consultation with

17                   counsel;

18           (3)     On order of a court of the United States or on request of an attorney for the

19                   Government, the person in charge of the corrections facility in which defendant is

20                   confined shall deliver the defendant to a United States Marshal for the purpose of

21                   an appearance in connection with a court proceeding; and

22           (4)     The clerk shall direct copies of this Order to counsel for the United States, to

     DETENTION ORDER                                                                                 15.13
     18 U.S.C. § 3142(i)                                                                          Rev. 1/91
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01               counsel for the defendant, to the United States Marshal, and to the United States

02               Pretrial Services Officer.

03         DATED this 23rd day of August, 2007.



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05                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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